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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 1 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 2 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 3 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 4 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 5 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 6 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 7 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 8 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 9 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 10 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 11 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 12 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 13 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 14 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 15 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 16 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 17 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 18 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 19 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 20 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 21 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 22 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 23 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 24 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 25 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 26 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 27 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 28 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 29 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 30 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 31 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 32 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 33 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 34 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 35 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 36 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 37 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 38 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 39 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 40 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 41 of 42 Trans ID: LCV20212931516
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     SLM-L-000187-21 12/13/2021 12:50:32 PM Pg 42 of 42 Trans ID: LCV20212931516
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